                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:11-00194
                                               )          JUDGE CAMPBELL
STERLING RENEVA RIVERS                         )


                                           ORDER

       Pending before the Court is the Government’s Motion To Excuse Counsel (Docket No.

1390). Through the Motion, AUSA Braden Boucek requests that he be excused from the status

conference set for July 31, 2013, and indicates that AUSA Brent Hannafan will represent the

Government at the hearing. The Motion is GRANTED.

       It is so ORDERED.


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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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